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                                         PAUL GRANT
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July 7, 2019

BY ECF
Hon. Lorna G. Schofield
United States District Judge
United States District Court
500 Pearl Street
New York NY 10007

Re:    United States v. Ross William Ulbricht, 14 Cr. 68 (LGS)
       Defendant Ulbricht’s Opposition to Unauthorized Motion to Substitute Counsel

Dear Judge Schofield:

       I write as counsel on behalf of Defendant Ulbricht to provide his Response/Reply in
Opposition to the Motion to Substitute Counsel that was filed on his behalf by Mr. Zachary L.
Newland. I have conferred with Mr. Ulbricht on July 6, 2019, concerning the so-called
“Defendant’s Unopposed Motion to Substitute Counsel,” filed on 7/2/2019, and I can now
inform the court:

1. Mr. Ulbricht neither requested nor authorized the filing of the Motion to Substitute Counsel
that was filed in his name.

2. Mr. Ulbricht opposes the relief requested in the Motion to Substitute Counsel.

      Wherefore, Mr. Ulbricht respectfully requests either (1) that he be allowed to withdraw
the Motion to Substitute Counsel; or (2) that the motion be denied.

Respectfully submitted,

/s/ Paul Grant
Paul Grant
Counsel for Ross William Ulbricht

cc: Eun Young Choi, via ECF
    Assistant United States Attorney
    Zachary L. Newland, via ECF

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